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 10
    Proposed Counsel to the Official Committee of
 11 Unsecured Creditors
 12                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 13                                    SANTA ANA DIVISION

 14 In re:                                              Case No.: 8:22-bk-10948-SC

 15 TRX HOLDCO, LLC, a Delaware limited                 Chapter 11 Case
    liability company,
 16                                                     THE OFFICIAL COMMITTEE OF
                Debtor and Debtor in Possession.        UNSECURED CREDITORS’ LIMITED
 17                                                     OBJECTION AND RESERVATION OF
                                                        RIGHTS TO THE DEBTORS’ MOTION
 18 In re:                                              FOR ENTRY OF ORDER (I)
                                                        ESTABLISHING BIDDING
 19 FITNESS ANYWHERE LLC, a Delaware                    PROCEDURES FOR FREE AND CLEAR
    limited liability company, dba TRX and TRX          SALE OF ASSETS;(II) ESTABLISHING
 20 Training,                                           PROCEDURES RELATING TO
                                                        ASSUMPTION AND ASSIGNMENT OF
 21                Debtor and Debtor in Possession.     EXECUTORY CONTRACTS AND
                                                        UNEXPIRED LEASES; (III) APPROVING
 22                                                     FORMS OF NOTICE; (IV) APPROVING
      ☒ Affects both Debtors                            FORM OF ASSET PURCHASE
 23                                                     AGREEMENT; (V) SCHEDULING AN
      ☐ Affects TRX Holdco, LLC only                    AUCTION; (VI) SCHEDULING A SALE
 24                                                     HEARING; AND (VII) GRANTING
      ☐ Affects Fitness Anywhere, LLC only              RELATED RELIEF
 25
                                                        DATE: June 30, 2022
 26                                                     TIME: 10:00 a.m.
                                                        PLACE: *Via ZoomGov
 27                                                            Courtroom 5C
                                                               411 West Fourth Street
 28                                                            Santa Ana, CA 92701

                                                      -1-
      SMRH:4867-2624-4135.1       THE COMMITTEE’S LIMITED OBJECTION TO DEBTORS’ BIDDING PROCEDURES MOTION
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  1           The Official Committee of Unsecured Creditors (the “Committee”), through its proposed

  2 undersigned attorneys, hereby submits this limited objection and reservation of rights (this

  3 “Limited Objection”) to Debtors’ Motion for Entry of Order (I) Establishing Bidding Procedures

  4 for Free and Clear Sale of Assets; (II) Establishing Procedures Relating to Assumption and

  5 Assignment of Executory Contracts and Unexpired Leases; (III) Approving Forms of Notice; (IV)
  6 Approving Form of Asset Purchase Agreement; (V) Scheduling an Auction; (VI) Scheduling a Sale

  7 Hearing; and (VII) Granting Related Relief [Docket No. 89] (the “Bid Procedures Motion”), filed

  8 by the Debtors TRX Holdco, LLC and Fitness Anywhere LLC (jointly, the “Debtors”), and

  9 respectfully states as follows:

 10           On June 29, 2022, the Committee retained Sheppard, Mullin, Richter & Hampton LLP

 11 (“Sheppard Mullin”) to serve as its counsel in these bankruptcy cases. The Committee and its
 12 counsel are reviewing the Bid Procedures Motion and the Debtors’ proposed bidding procedures

 13 outlined therein. The Committee and the Debtors are working collaboratively and hope to reach

 14 an agreement on the Debtors’ proposed bidding procedures before the hearing on this matter. The

 15 Committee, however, files this Limited Objection to reserve its rights in all respects to object to

 16 the Bidding Procedures Motion or request that the hearing be adjourned for a short amount of time

 17 to provide the parties additional time to reach an agreement regarding the bidding procedures.

 18 Dated: June 30, 2022
 19                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 20

 21                                       By                          /s/ Ori Katz
                                                                      ORI KATZ
 22
                                                                 JENNIFER NASSIRI
 23                                                           ALEXANDRIA LATTNER
                                                     [Proposed] Attorneys for Official Committee of
 24                                                               Unsecured Creditors
 25

 26

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      SMRH:4867-2624-4135        THE COMMITTEE’S LIMITED OBJECTION TO DEBTORS’ BIDDING PROCEDURES MOTION
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                            PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
address is 333 South Hope Street, 43rd Floor, Los Angeles, CA 90071-1422

A true and correct copy of the foregoing document entitled (specify): THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS’ LIMITED OBJECTION AND RESERVATION OF RIGHTS TO THE
DEBTORS’ MOTION FOR ENTRY OF ORDER (I) ESTABLISHING BIDDING PROCEDURES FOR FREE
AND CLEAR SALE OF ASSETS;(II) ESTABLISHING PROCEDURES RELATING TO ASSUMPTION
AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (III) APPROVING
FORMS OF NOTICE; (IV) APPROVING FORM OF ASSET PURCHASE AGREEMENT; (V)
SCHEDULING AN AUCTION; (VI) SCHEDULING A SALE HEARING; AND (VII) GRANTING RELATED
RELIEF will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
hyperlink to the document. On (date) June 30, 2022, I checked the CM/ECF docket for this bankruptcy case
or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
to receive NEF transmission at the email addresses stated below:

            Ron Bender rb@lnbyb.com
            Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
            Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
            Jonathan Gottlieb jdg@lnbyg.com
            Michael J Hauser on behalf of U.S. Trustee United States Trustee (SA)
             michael.hauser@usdoj.gov
            Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
            Krikor J Meshefejian kjm@lnbyg.com
            Ali M Mojdehi amojdehi@btlaw.com,
             jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
            Christopher O Rivas crivas@reedsmith.com
            Lindsey L Smith lls@lnbyg.com,
            United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                           Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

                                                            Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (June
30, 2022), I served the following persons and/or entities by personal delivery, overnight mail service, or (for
those who consented in writing to such service method), by facsimile transmission and/or email as follows.
be completed no later than 24 hours after the document is filed.

SERVED BY OVERNIGHT MAIL


                                                     -1-
                                                                                         PROOF OF SERVICE
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Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593
                                                     Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.

  June 30, 2022                 Alexandria G. Lattner                  /s/ Alexandria G. Lattner
  Date                          Printed Name                           Signature




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                                                                                       PROOF OF SERVICE
